
WILLIAMS, J.
It is conceded here that the court at special term erred in placing its decision upon the failure of defendant to make the designation provided for in chapter 349, Laws 1895. That act related solely to justices’ courts, and had no application to courts of record. The only question is whether the service was properly made by delivering copies of the summons and complaint to Blackwell, the agent of defendant, under subdivision 3, "| 432, Code Civ. Proc. That section provides that:
“ Personal service of the summons upon a foreign corporation must be made by delivering a copy thereof within the state, (1) to the president, treasurer, or secretary, or if the corporation lacks either of these officers, to the officer performing corresponding functions under another name. (2) To a person designated for the purpose by a writing under the seal of the corporation and the signature of the president, vice-president or other acting *798head, accompanied with a written consent of the person designated and filed in the office of the secretary of state. (The section then provides for the contents of the designation, and that it shall remain in force until a written revocation is-filed, etc.) (3) If such a designation is not in force or if neither the person designated nor any officer specified in subdivision 1,. of this section can be found with due diligence, and the corporation has property within the state, or if the cause of action arose-therein, to the cashier, a director, or a managing agent of thecoi-poration within the state.”
The defendant made the motion to set aside the service, and it. was incumbent upon it, in order to obtain the relief sought for, to-show facts from which the court could determine that the service-was improperly made. We do not think such facts were showu by the papers used on the motion. The appointment of superintendent of insurance as attorney to receive service of process was-made under chapter 346, Laws 1884 (not 1894, as stated in the-printed papers). The appointment was made in 1884, after the-passage of the act of that year. * That act was repealed by chapter 690, Laws 1892, and section 30 of the later act was enacted in. place of the provisions of the act of 1884. The act of 1884 and. the act of 1892, so far as the question here involved is concerned,, were substantially the same, and provided, in effect, that a foreign-insurance corporation should execute and file in the office of the-superintendent of insurance a written appointment of the superintendent to be the true and lawful attorney of such corporation in and for this state, upon whom all lawful process in any action or proceeding against such corporation might be served with the-same force and effect as if -it_ were a domestic corporation, and that service upon such attorney should be deemed service upon-the corporation. The appointment made under these provisions; was not the designation provided for, however, by subdivision 2,. section 432, Codé Civ. Pro-c. The appointment made under these-acts was to be filed in the office of the superintendent of insurance, and related alone to foreign insurance corporations; while the designation under this section of the Code was to be filed in the office of the secretary of state, and related to all foreign corporations, whether insurance or otherwise. The provisions of section 432 of the Code of Civil Procedure were enacted long before either the statute of 1884 or that of 1892. These provisions-of the Code have never been expressly repealed, and are still in, force. The provisions of the acts of 1884 and 1892 in no manner ' conflict with the provisions of the Code. The acts of 1884 and 1892 provided fix the service of process upon a person other than those specified in the provisions of the Code, where the foreign corporation was an insurance company. The acts of 1884 and 1892 provided merely that process might be served upon the superintendent, of insurance, not that it must be. A proper, service might, therefore, be made upon a foreign insurance corporation under the provisions either of the Code or of the act of 1884 or 1892. Concededly, there was no attempt here to serve; under the provisions of the act of 1884 or- of 1892. ' --
*799The only question, therefore, is whether the defendant; mad&amp; proof of such facts at special term as called upon the .court to hold 'that there was not good service under the provisions of the Code. :It appeared that the service was made by delivering the summons- ¡and complaint to Blackwell. There was no proof or claim that ■any designation had been made under the provisions of the Code. 'The difficulty with the proof that was made at special term was-'that it did not show that Blackwell was not the person referred 'to in either the first or third subdivision of section 432. All that 'the proof showed was that he was a special agent for defendant, and that his duty was to act for defendant in receiving proofs of loss and in adjusting losses. It did not-show that he had no other relations with the defendant. For all that appeared, he might have been the president or secretary of defendant. There was no proof that the defendant did not lack either of these officers, and that Blackwell was not then an officer performing corresponding functions. If he was either of these persons, the service was good under the first subdivision of the section. There was no proof that a designation under subdivision 2 of the section had been made or was in force, nor was there any proof that the defendant had no property within this state, nor that the cause of action did not arise in this state; and, in the absence of this proof, the service, if made upon the cashier, a director, or a managing agent of the defendant, was good under the third subdivision of the section ; and then there was no proof that Blackwell was not either the cashier, a director, or a managing agent of the defendant. The defendant could not have an order setting aside the summons -and complaint unless he proved that the service made was not ■such as the law provided for to give the court jurisdiction of the action. ISTo such proof was given, for the reasons stated. Such .proof was at hand if it could be made at all. Blackwell was the-■agent for defendant, located in the state. His affidavit could have 'been presented showing what his entire relations with the defendant were. Only the attorney’s affidavit was produced, and it might well be true that he had no knowledge as to Blackwell’s'relations with the defendant, or whether they were anything more than that of a special agent with the duty to receive proofs of loss and to adjust losses or not. We do not deem it necessary to-pass upon the question whether, if Blackwell’s only, relations with, the defendants were to act for it in receiving proofs of loss and adjust losses, he was a managing agent under the provisions of section 432 of the Code. There was no proof before the special term that these were his only relations with defendant, no proof that his relations were not such as clearly and beyond all question constituted him a managing agent.
We think the order was properly made by the special term, and that it should be affirmed, with costs.
All concur.
